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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


 SECURITIES AND EXCHANGE COMMISSION,

                                Plaintiff,
                                                          Case No. 20-CV-10832 (AT) (SN)
           v.

 RIPPLE LABS INC., BRADLEY
 GARLINGHOUSE, and CHRISTIAN A.
 LARSEN,

                                Defendants.


 DECLARATION OF EROL GULAY IN SUPPORT OF DEFENDANTS’ OPPOSITION
         TO PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       I, Erol Gulay, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746 as

follows:

1.     I am an attorney employed by the law firm of Debevoise & Plimpton LLP, counsel to

defendant Ripple Labs Inc. I submit this declaration in support of Defendants’ Opposition to

Plaintiff’s Motion for Summary Judgment.

2.     Attached as Exhibit 167 to this declaration are true and correct copies of nearly 3,500

affidavits signed by various individuals who state that they hold or held XRP.

3.     Attached as Exhibit 168 to this declaration are true and correct copies of two declarations

signed by John E. Deaton, dated May 20, 2022 and June 5, 2022, describing the collection of

affidavits in Exhibit 167.

4.     Attached as Exhibit 169 to this declaration is a true and correct copy of the Declaration

of Christian A. Larsen dated October 18, 2022.

5.     Attached as Exhibit 170 to this declaration is a true and correct copy of the Declaration

of Kristina Campbell dated October 16, 2022.
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6.     Attached as Exhibit 171 to this declaration is a true and correct copy of the Expert

Report of Peter Easton dated October 4, 2021.

7.     Attached as Exhibit 172 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 0579742.

8.     Attached as Exhibit 173 to this declaration is a true and correct copy of the article titled

“Crypto Litigation Tracker,” by Morrison Cohen LLP, dated October 4, 2022, available at

https://www.morrisoncohen.com/siteFiles/News/MoCo%20Crypto %20Litigation%

20Tracker%204Q%202022.pdf.

9.     Attached as Exhibit 174 to this declaration is a true and correct copy of the article titled

“Gary Gensler Wants to Regulate Crypto,” by Matt Levine, published on Bloomberg.com, dated

September 8, 2022, available at https://www.bloomberg.com/opinion/articles/2022-09-08/gary-

gensler-wants-to-regulate-crypto (last accessed October 13, 2022).

10.    Attached as Exhibit 175 to this declaration is a true and correct copy of the letter from

U.S. Senator John Hickenlooper to SEC Chair Gary Gensler, dated October 13, 2022, available

at https://www.hickenlooper.senate.gov/wp-content/uploads/2022/10/Sen.-Hickenlooper-Letter-

to-Chair-Gensler-on-Digital-Asset-Regulation2.pdf.

11.    Attached as Exhibit 176 to this declaration is a true and correct copy of the article titled

“Bitcoin and Virtual Currencies: Welcome to Your Regulator,” by Matthew Kluchenek,

published in Harvard Business Law Review, dated December 3, 2016, available at

https://www.hblr.org/2016/12/bitcoin-and-virtual-currencies-welcome-to-your-regulator.

12.    Attached as Exhibit 177 to this declaration is a true and correct copy of the article titled

“SEC Publishes Landmark Guidance on Blockchain Tokens,” published by Cooley LLP, dated




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August 9, 2017, available at https://www.cooley.com/news/insight/2017/2017-08-09-sec-

publishes-landmark-guidance-on-blockchain-tokens (last accessed October 15, 2022).

13.    Attached as Exhibit 178 to this declaration is a true and correct copy of the article titled

“SEC Report of Investigation Concludes that DAO Tokens Were Securities,” published by

Covington & Burling LLP, dated July 27, 2017, available at https://www.covfinancialservices.

com/2017/07/sec-report-of-investigation-concludes-that-dao-tokens-were-securities/ (last

accessed October 15, 2022).

14.    Attached as Exhibit 179 to this declaration is a true and correct copy of SEC Publication

No. 153, dated July 2013, available at https://www.sec.gov/files/ia_virtualcurrencies.pdf.

15.    Attached as Exhibit 180 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 0530419.

16.    Attached as Exhibit 181 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 0344268.

17.    Attached as Exhibit 182 to this declaration is a true and correct copy of the article “SEC

Stays Silent on Bitcoin as Currency Attracts New Controversies,” dated May 3, 2013, available

at https://advance.lexis.com/api/permalink/52965985-fe91-4006-b5f0-ac15b9775b73

/?context=1000516.

18.    Attached as Exhibit 183 to this declaration is a true and correct copy of the article titled

“What is bitcoin?” by Tal Yellin, Dominic Aratari, and Jose Pagliery, published by CNN Money,

dated December 3, 2013 (last updated August 8, 2018), available at

https://money.cnn.com/infographic/technology/what-is-bitcoin/index.html.

19.    Attached as Exhibit 184 to this declaration is a true and correct copy of the article titled

“Regulating Bitcoins: CFTC vs. SEC?” by Todd Zerega and Tom Watterson, published by Reed


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Smith LLP, dated December 31, 2013, available at https://www.reedsmith.com/en/perspectives/

2013/12/regulating-bitcoins-cftc-vs-sec (last accessed October 13, 2022).

20.    Attached as Exhibit 185 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EPROD-001345799.

21.    Attached as Exhibit 186 to this declaration is a true and correct copy of the Settlement

Agreement between the U.S. Department of Justice and Ripple Labs Inc., dated May 5, 2015,

available at https://www.justice.gov/usao-ndca/file/765721/download.

22.    Attached as Exhibit 187 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EPROD-000958592.

23.    Attached as Exhibit 188 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EMAILS-000337960.

24.    Attached as Exhibit 189 to this declaration is a true and correct copy of the Order in In

the Matter of Coinflip, Inc. et al., CFTC Docket No. 15-29, dated September 17, 2015, available

at https://www.cftc.gov/sites/default/files/ idc/groups/public/@lrenforcementactions/documents/

legalpleading/enfcoinfliprorder09172015.pdf.

25.    Attached as Exhibit 190 to this declaration is a true and correct copy of the article titled,

“CFTC Ruling Defines Bitcoin and Digital Currencies as Commodities,” by Pete Rizzo,

published by Coindesk, dated September 17, 2015, available at https://www.coindesk.com/cftc-

ruling-defines-bitcoin-and-digital-currencies-as-commodities (last accessed October 13, 2022).

26.    Attached as Exhibit 191 to this declaration is a true and correct copy of the article titled

“US CFTC brings first enforcement case against a Bitcoin operator,” by Sarah N. Lynch,

published by Reuters, dated September 17, 2015, available at https://www.reuters.com/article/




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cftc-bitcoin/us-cftc-brings-first-enforcement-case-against-a-bitcoin-operator-

idUKL1N11N2NR20150917 (last accessed October 13, 2022).

27.    Attached as Exhibit 192 to this declaration is a true and correct copy of the document

family bearing Bates number SEC-LIT-EMAILS-000339669.

28.    Attached as Exhibit 193 to this declaration is a true and correct copy of the “Report of

Investigation Pursuant to Section 21(a) of the Sec. Exch. Act of 1934: The DAO,” issued by the

SEC Division of Enforcement, SEC Release No. 81207, dated July 25, 2017, available at

http://www.sec.gov/litigation/ investreport/34-81207.pdf.

29.    Attached as Exhibit 194 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 1093340.

30.    Attached as Exhibit 195 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 1096584.

31.    Attached as Exhibit 196 to this declaration is a true and correct copy of the “Statement

Urging Caution Around Celebrity Backed ICOs,” by the SEC Division of Examinations, dated

November 1, 2017, available at https://www.sec.gov/ news/public-statement/statement-

potentially-unlawful-promotion-icos.

32.    Attached as Exhibit 197 to this declaration is a true and correct copy of SEC Chair Jay

Clayton’s testimony before Congress, “Virtual Currencies: The Roles of the SEC and CFTC,”

dated February 6, 2018, available at https://www.sec.gov/news/testimony/testimony-virtual-

currenciesoversight-role-us-securities-and-exchange-commission.

33.    Attached as Exhibit 198 to this declaration is a true and correct copy of the article titled

“In the Wake of the DAO Report: A Year in Review,” by Christopher Conniff & Helen Gugel,

published by Bloomberg Law, dated July 27, 2018, available at https://news.bloomberglaw.com/


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securities-law/insight-in-the-wake-of-the-dao-report-a-year-in-review (last accessed October 15,

2022).

34.      Attached as Exhibit 199 to this declaration is a true and correct copy of the article titled

“Global Update: Regulators Focus on Initial Coin Offerings,” by Dechert LLP, dated October 4,

2017, available at https://www.dechert.com/knowledge/onpoint /2017/10/global-update-

regulators-focus-on-initial-coin-offerings.html (last accessed October 15, 2022).

35.      Attached as Exhibit 200 to this declaration is a true and correct copy of the document

bearing Bates numbers SEC-SEC-E-0000120 and SEC-LIT-EMAILS-000470683.

36.      Attached as Exhibit 201 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EMAILS-000342982.

37.      Attached as Exhibit 202 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EMAILS-000342636.

38.      Attached as Exhibit 203 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EPROD-000959297.

39.      Attached as Exhibit 204 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EPROD-000959442.

40.      Attached as Exhibit 205 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EMAILS-000340369.

41.      Attached as Exhibit 206 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EMAILS-000340302.

42.      Attached as Exhibit 207 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EPROD-001345801.




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43.    Attached as Exhibit 208 to this declaration is a true and correct copy of the “Petition for

Rulemaking – Digital Asset Securities Regulation,” submitted by Coinbase Global, Inc. to the

SEC, dated July 21, 2022, available at https://www.sec.gov/rules/petitions/2022/petn4-789.pdf.

44.    Attached as Exhibit 209 to this declaration is a true and correct copy of the document

family bearing Bates number SEC-LIT-EMAILS-000470992.

45.    Attached as Exhibit 210 to this declaration is a true and correct copy of the document

family bearing Bates number SEC-LIT-EMAILS-000471146.

46.    Attached as Exhibit 211 to this declaration is a true and correct copy of the document

family (including native copy) bearing Bates number SEC-LIT-EMAILS-000471315.

47.    Attached as Exhibit 212 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 1093406.

48.    Attached as Exhibit 213 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EPROD-001748209.

49.    Attached as Exhibit 214 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EMAILS-000466545.

50.    Attached as Exhibit 215 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EMAILS-000466556.

51.    Attached as Exhibit 216 to this declaration is a true and correct copy of the letter from

SEC Chair Jay Clayton to U.S. Representative Ted Budd, dated March 7, 2019, available at

https://www.morrisoncohen.com/siteFiles/files/clayton-token-response.pdf.

52.    Attached as Exhibit 217 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EPROD-001463104.




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53.    Attached as Exhibit 218 to this declaration is a true and correct copy of SEC Chair Jay

Clayton’s testimony before Congress, “Oversight of the U.S. Securities and Exchange

Commission,” dated June 21, 2018, available at https://www.sec.gov/news/testimony/testimony-

oversight-us-securities-and-exchange-commission-0.

54.    Attached as Exhibit 219 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EPROD-000038987.

55.    Attached as Exhibit 220 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EMAILS-000460257.

56.    Attached as Exhibit 221 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 0978762.

57.    Attached as Exhibit 222 to this declaration is a true and correct copy of the Twitter post

by Neha Narula (@neha), dated July 15, 2018, available at https://twitter.com/neha/status/

1007579383417188353?s=20&t=0gGCIkqrwhTFT-K0Qt_VeQ.

58.    Attached as Exhibit 223 to this declaration is a true and correct copy of the Rebuttal

Expert Report of Peter Adriaens, dated November 12, 2021.

59.    Attached as Exhibit 224 to this declaration is a true and correct copy of the article titled

“Taxonomy of Centralization in Public Blockchain Systems: A Systematic Literature Review,”

by A.R. Sai, et al., published in the journal Information Processing & Management, Volume 58,

Issue 1, in 2021.

60.    Attached as Exhibit 225 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EMAILS-000335176.




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61.    Attached as Exhibit 226 is the “Framework for ‘Investment Contract’ Analysis of Digital

Assets,” issued by the SEC Division of Corporation Finance, dated April 3, 2019, available at

https://www.sec.gov/corpfin/framework-investment-contract-analysis-digital-assets.

62.    Attached as Exhibit 227 to this declaration is a true and correct copy of the article titled,

“Washington must avoid half-measures and misguidance on legislating crypto,” by Harold Ford,

Jr., published by CNBC.com, dated September 5, 2019, available at https://www.cnbc.com/2019

/09/05/washington-must-avoid-half-measures-and-misguidance-on-legislating-crypto.html.

63.    Attached as Exhibit 228 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EPROD-000738401.

64.    Attached as Exhibit 229 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EPROD-000038987.

65.    Attached as Exhibit 230 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 1094843.

66.    Attached as Exhibit 231 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EPROD-000738343.

67.    Attached as Exhibit 232 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 0102900.

68.    Attached as Exhibit 233 to this declaration is a true and correct copy of the blogpost

titled, “Coinbase will suspend trading in XRP on January 19,” published on the website

Coinbase.com, dated December 28, 2020, available at https://www.coinbase.com/blog/coinbase-

will-suspend-trading-in-xrp-on-january-19 (last accessed October 13, 2022).

69.    Attached as Exhibit 234 to this declaration is a true and correct copy of the article titled

“XRP, BCH, LTC & ETH: Grayscale Adds 4 New Crypto Trusts,” by Nikhilesh De, published


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by Coindesk, dated March 6, 2018 (last updated September 13, 2021), available at

https://www.coindesk.com/markets/ 2018/03/06/xrp-bch-ltc-eth-grayscale-adds-4-new-crypto-

trusts (last accessed October 13, 2022).

70.      Attached as Exhibit 235 to this declaration is a true and correct copy of the blogpost

titled, “Bitso and Ripple Are Delivering Friction-Free Exchange Across Latin America,”

published by Ripple Insights, dated March 5, 2020, available at https://ripple.com/insights/bitso-

and-ripple-are-delivering-friction-free-exchange-across-latin-america (last accessed October 15,

2022).

71.      Attached as Exhibit 236 to this declaration is a true and correct copy of the document

bearing Bates number SEC v. Ripple RL-B-0000027.

72.      Attached as Exhibit 237 to this declaration is a true and correct copy of the webpage

titled “XRP market removal 01/15/2021,” dated January 15, 2021, available at

https://bittrex.zendesk.com/hc/en-us/articles/360054838991-XRP-market-removal-01-15-2021

(last accessed October 13, 2022).

73.      Attached as Exhibit 238 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 0580037.

74.      Attached as Exhibit 239 to this declaration is a true and correct copy of the report titled

“Q4 2020 XRP Markets Report,” issued by Ripple Labs Inc., dated February 5, 2021, available

at https://ripple.com/insights/q4-2020-xrp-markets-report/ (last accessed October 15, 2022).

75.      Attached as Exhibit 240 to this declaration is a true and correct copy of the transcript of

the “What Bitcoin Did” Podcast Episode 050, dated November 24, 2018, available at

https://www.whatbitcoindid.com/podcast/the-secs-hester-peirce-on-regulating-cryptocurrencies.




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76.    Attached as Exhibit 241 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 1141266.

77.    Attached as Exhibit 242 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 1141354.

78.    Attached as Exhibit 243 to this declaration is a true and correct copy of the speech titled,

“Remarks at the ‘SEC Speaks’ Conference 2022,” by SEC Commissioner Mark. T. Uyeda, dated

September 9, 2022 available at https://www.sec.gov/news/speech/uyeda-speech-sec-speaks-

090922.

79.    Attached as Exhibit 244 to this declaration is a true and correct copy of the speech titled,

“Paper, Plastic, Peer-to-Peer,” by SEC Commissioner Hester M. Peirce, dated March 15, 2021,

available at https://www.sec.gov/news/speech/peirce-paper-plastic-peer-to-peer-031521.

80.    Attached as Exhibit 245 to this declaration is a true and correct copy of the Statement

titled, “In the Matter of Coinschedule,” by SEC Commissioners Hester M. Peirce and Elad L.

Roisman, dated July 14, 2021, available at https://www.sec.gov/news/public-statement/peirce-

roisman-coinschedule.

81.    Attached as Exhibit 246 to this declaration is a true and correct copy of the speech titled,

“Lawless in Austin,” by SEC Commissioner Hester M. Peirce, dated October 8, 2021, available

at https://www.sec.gov/news/speech/peirce-2021-10-08.

82.    Attached as Exhibit 247 to this declaration is a true and correct copy of the Statement

titled, “Response to Staff Accounting Bulletin No. 121,” by SEC Commissioner Hester M.

Peirce, dated March 31, 2022, available at https://www.sec.gov/news/statement/peirce-response-

sab-121-033122.




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83.    Attached as Exhibit 248 to this declaration is a true and correct copy of the article titled,

“Calls for Legal Clarity Abound at Security Token Summit,” by Elise Hansen, published by

Law360, dated March 25, 2021, available at https://www.law360.com/articles/1368987/calls-

for-legal-clarity-abound-at-security-token-summit (last accessed October 13, 2022).

84.    Attached as Exhibit 249 to this declaration is a true and correct copy of the article titled,

“Japan’s top securities regulator says XRP is not a security,” by Yogita Khatri, published by

TheBlock.co, dated January 13, 2021, available at https://www.theblock.co/post/90922/japan

(last accessed October 14, 2022).

85.    Attached as Exhibit 250 to this declaration is a true and correct copy of, “A Guide to

Digital Token Offerings,” by the Monetary Authority of Singapore, dated May 26, 2020,

available at https://www.mas.gov.sg/-/media/MAS/Sectors/Guidance/Guide-to-Digital-Token-

Offerings-26-May-2020.pdf (last accessed October 14, 2022).

86.    Attached as Exhibit 251 to this declaration is a true and correct copy of the Expert

Report of Bradley Borden, dated October 4, 2021.

87.    Attached as Exhibit 252 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 0221653.

88.    Attached as Exhibit 253 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EPROD-000615887.

89.    Attached as Exhibit 254 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EPROD-000615905.

90.    Attached as Exhibit 255 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 0460887.




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91.    Attached as Exhibit 256 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 0065738.

92.    Attached as Exhibit 257 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 0054426.

93.    Attached as Exhibit 258 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 0626650.

94.    Attached as Exhibit 259 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 0491179.

95.    Attached as Exhibit 260 to this declaration is a true and correct copy of the blog post

titled, “ICO = IPO: Why the SEC Is Right to Regulate Initial Coin Offerings,” by Brad

Garlinghouse, dated July 28, 2017, available at https://ripple.com/insights/icoipo-sec-right-

regulate-initial-coin-offerings/.

96.    Attached as Exhibit 261 to this declaration is a true and correct copy of the transcript of

the video recording: “Ripple Live: Ask Me Anything with Brad Garlinghouse and Cory Johnson

(2018),” dated April 27, 2018, available at https://www.youtube.com/watch?v=6d3Czi4dgn0.

97.    Attached as Exhibit 262 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EMAILS-000471185.

98.    Attached as Exhibit 263 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 0235167.

99.    Attached as Exhibit 264 to this declaration is a true and correct copy of the Statement

titled, “In the Matter of Poloniex, LLC,” by SEC Commissioner Hester M. Peirce, dated August

9, 2021, available at https://www.sec.gov/news/public-statement/pierce-statement-poloniex-

080921.


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100.   Attached as Exhibit 265 to this declaration is true and correct copy of a Twitter post by

Bradley Garlinghouse (@bgarlinghouse), dated July 11, 2019, available at

https://twitter.com/bgarlinghouse/status/1149444241686327296.

101.   Attached as Exhibit 266 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 0053629.

102.   Attached as Exhibit 267 to this declaration is a true and correct copy of the transcript of

the video recording, “CB Insights Future of Fintech - Ripple Brad Garlinghouse,” dated June 21,

2018, available at https://www.youtube.com/watch?v=VfTuccTTbyc.

103.   Attached as Exhibit 268 to this declaration is a true and correct copy of the article titled,

“Brad Garlinghouse explains how regulatory uncertainty around XRP has affected Ripple,” by

Frank Chaparro and Brad Garlinghouse, published by TheBlock.co, dated November 13, 2020,

available at https://www.theblock.co/post/84550/brad-garlinghouse-podcast-xrp-ripple.

104.    Attached as Exhibit 269 to this declaration is a true and correct copy of the document

bearing Bates number RPLI_SEC 0556099.

105.   Attached as Exhibit 270 to this declaration is a true and correct copy of the document

bearing Bates number SEC-SEC-E-0010269.

106.   Attached as Exhibit 271 to this declaration is a true and correct copy of the document

bearing Bates number SEC-SEC-E-0010519.

107.   Attached as Exhibit 272 to this declaration is a true and correct copy of the document

bearing Bates number BS-LTD-00000005.

108.   Attached as Exhibit 273 to this declaration is a true and correct copy of the document

bearing Bates number Bitstamp USA_00000001.




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109.     Attached as Exhibit 274 to this declaration is a true and correct copy of the press release

titled, “O’Melveny Advises Industry-led Crypto Rating Council on Development and Launch of

Rating System for Crypto Assets,” by O’Melveny & Meyers LLP, dated September 30, 2019,

available at https://www.omm.com/our-firm/media-center/press-releases/omelveny-advises-

industry-led-crypto-ratings-council.

110.     Attached as Exhibit 275 to this declaration is a true and correct copy of Plaintiffs’

Answers & Objections to Defendants’ Third Set of Requests for Admission.

111.     Attached as Exhibit 276 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EMAILS-000456558.

112.     Attached as Exhibit 277 to this declaration is a true and correct copy of the document

family bearing Bates number SEC-LIT-EMAILS-000470968.

113.     Attached as Exhibit 278 to this declaration is a true and correct copy of the document

bearing Bates number SEC-LIT-EPROD-000738320.

114.     Attached as Exhibit 279 to this declaration is a true and correct copy of the Certification

Pursuant to the Federal Securities Laws, dated May 17, 2019, executed by Bradley Sostack, and

filed on May 20, 2019, as ECF No. 45-1, in the case captioned In re Ripple Labs Inc. Litigation,

Case No. 4:18-cv-06753-PJH3 (N.D. Cal.).

         I declare under penalty of perjury that the forgoing is true and correct to the best of my

knowledge.

Dated:          October 18, 2022
                New York, New York
                                               By:     /s/ Erol Gulay
                                                       Erol Gulay




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